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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 95-084-CR-LENARD(s)(s)(s)
UNITED STATES OF AMERICA,

Plaintiff,

 

Vs.
EVELYN CECILIA BOZON PAPPA,

Defendant.
/

VERDICT
Count I
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty
Guilty v
as to Count I of the Indictment.
Count II
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty
Guilty
as to Count II of the Indictment.
Count III
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty
Guilty )

as to Count III of the Indictment.

WE
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Count IV
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty
Guilty
as to Count IV of the Indictment.
Count V
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty
Guilty
as to Count V of the Indictment.
Count VI
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty
Guilty \/
as to Count VI of the Indictment.
Count VII
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty
Guity Wf
as to Count VII of the Indictment.
Count VIII
We, the Jury find the defendant, EVELYN CECELIA BOZON PAPPA,
Not Guilty

Guilty | /

as to Count VIII of the Indictment.
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COUNT IX
With respect to Count IX part (a), we, the Jury find the defendant, EVELYN CECELIA
BOZON PAPPA,
Not Guilty

Guilty J

as to Count IX part (a) of the of the Indictment.

With respect to Count IX part (b), we the Jury find the defendant, EVELYN CECELIA
BOZON PAPPA,

Not Guilty

Guilty if

as to Count IX part (b) of the Indictment.

So say we all.

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